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K I N G C O U N T Y P R O S E C U T I N G A T T O R N E Y’S O F F I C E
                  LEESA MANION (she/her)                                                        JUSTICE
                  PROSECUTING ATTORNEY                                                    COMPASSION
                  W554 King County Courthouse
                  701 5th Avenue, Suite 600                                         PROFESSIONALISM
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March 23, 2023


The Honorable Marsha Pechman
Western District of Washington
United States Courthouse
700 Stewart Street, Suite 14229
Seattle, WA 98101-9906

RE: Trueblood evidentiary hearing; role of Amicus Counties

Dear Judge Pechman,

King, Pierce, and Snohomish Counties (“Amicus Counties”) comprise over four million
Washington residents. These residents and the home rule, charter governments of the Amicus
Counties are directly and negatively impacted by DSHS’s long-standing and contumacious
failure to fulfill its statutory and constitutional duties to provide timely competency restoration
services for people facing criminal charges. The increased pressure on county jails and scarce
community-based mental health resources to fill the void created by DSHS’s failures is
untenable and unsustainable. The extra expenses incurred by the Amicus Counties doubtless
totals millions of taxpayer dollars and harms the rights of many.

And yet, DRW and DSHS jointly propose to allow the Amicus Counties only ten minutes at the
beginning of a multi-day evidentiary hearing to address their wide-ranging and important
concerns. Given the Counties’ significant interests in this case, the parties’ proposal is both
inadequate and disappointing.

The Amicus Counties respectfully request the following:

   -   An opportunity to present an opening statement

   -   Permission to ask witnesses clarifying questions, or to propose clarifying questions to the
       Court

   -   An opportunity to present closing remarks at the conclusion of the evidence

The Amicus Counties will not be coming to the hearing empty-handed. In counter to DSHS’s
claim that options do not exist, King County has been working to locate appropriate vacant
facilities—including a former nursing home—that could be converted into inpatient facilities for
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KING COUNTY PROSECUTING ATTORNEY’S OFFICE
RE: Trueblood evidentiary hearing; role of Amicus Counties
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Trueblood class members with relative ease. The Amicus Counties request an opportunity to
present these viable options to the Court.

In summary, the Amicus Counties should be allowed an opportunity to participate meaningfully
in the evidentiary hearing. The interests of Amicus, who actually operate the criminal justice
systems adversely impacted by DSHS’s actions and DRW’s proposals, are represented by neither
party in this case. The agreement of those parties to allocate just ten minutes to Amicus at the
beginning of the hearing is not sufficient.

Thank you for your consideration and for the opportunity to participate in this process.

Sincerely,

LEESA MANION                                                 MARY ROBNETT
King County Prosecuting Attorney                             Pierce County Prosecuting Attorney

By: s/ David Hackett                                         /s/ Michelle Luna-Greem
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